                  Case 4:21-cv-00242-MW-MAF                                         Document 268                       Filed 04/13/22                     Page 1 of 14
AO 133        (Rev. 12/09) Bill of Costs


                                                 UNITED STATES DISTRICT COURT
                                                                                             for the
                                                                      Northern District
                                                                    __________ District of
                                                                                        of Florida
                                                                                           __________
       HARRIET TUBMAN FREEDOM FIGHTERS,                                                          )
                  CORP., Plaintiff                                                               )
                                          v.                                                     )         Case No.: 4:21-cv-242-MW/MAF
    LAUREL LEE, in her Official Capacity as Florida                                              )
        Secretary of State, et al., Defendants
                                                                                                 )

                                                                                 BILL OF COSTS
Judgment having been entered in the above entitled action on                                         03/31/2022                  against         Defendants                              ,
                                                                                                            Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $               402.00

Fees for service of summons and subpoena . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case . . . . . .                                                                12,755.23

Fees and disbursements for printing . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Fees for witnesses (itemize on page two) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                   0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

Docket fees under 28 U.S.C. 1923 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Costs as shown on Mandate of Court of Appeals . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of court-appointed experts . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 . . . . .
Other costs (please itemize) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                               TOTAL            $           13,157.23

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                                        Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
         �’         Electronic service                                    ’         First class mail, postage prepaid
         ’          Other:
              s/ Attorney:            Michelle E. Kanter Cohen
                          Name of Attorney: Michelle E. Kanter Cohen
For:                                     Harriet Tubman Freedom Fighters, Corp.                                                                      Date:          04/13/2022
                                                             Name of Claiming Party

                                                                                   Taxation of Costs
Costs are taxed in the amount of                                                                                                                         and included in the judgment.

                                                                                  By:
                           Clerk of Court                                                                       Deputy Clerk                                             Date
              Case 4:21-cv-00242-MW-MAF                          Document 268               Filed 04/13/22            Page 2 of 14
AO 133 (Rev. 12/09) Bill of Costs


                                     UNITED STATES DISTRICT COURT
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     ATTENDANCE           SUBSISTENCE            MILEAGE
                                                                                                                                        Total Cost
           NAME , CITY AND STATE OF RESIDENCE                                   Total               Total                Total         Each Witness
                                                                     Days       Cost      Days      Cost      Miles      Cost


                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00


                                                                                                                                                $0.00


                                                                                                                    TOTAL                       $0.00


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  “Sec. 1924. Verification of bill of costs.”
      “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto an affidavit, made by himself or by
  his duly authorized attorney or agent having knowledge of the facts, that such item is correct and has been necessarily incurred in the case and
  that the services for which fees have been charged were actually and necessarily performed.”

  See also Section 1920 of Title 28, which reads in part as follows:
      “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  Costs Other than Attorneys’ Fees.
      Unless a federal statute, these rules, or a court order provides otherwise, costs — other than attorney's fees — should be allowed to the
  prevailing party. But costs against the United States, its officers, and its agencies may be imposed only to the extent allowed by law. The clerk
  may tax costs on 14 day's notice. On motion served within the next 7 days, the court may review the clerk's action.

  RULE 6
  (d) Additional Time After Certain Kinds of Service.

      When a party may or must act within a specified time after service and service is made under Rule5(b)(2)(C), (D), (E), or (F), 3 days are
  added after the period would otherwise expire under Rule 6(a).
  RULE 58(e)
  Cost or Fee Awards:
       Ordinarily, the entry of judgment may not be delayed, nor the time for appeal extended, in order to tax costs or award fees. But if a
  timely motion for attorney's fees is made under Rule 54(d)(2), the court may act before a notice of appeal has been filed and become
  effective to order that the motion have the same effect under Federal Rule of Appellate Procedure 4(a)(4) as a timely motion under Rule 59.
  Case 4:21-cv-00242-MW-MAF        Document 268     Filed 04/13/22   Page 3 of 14




            HARRIET TUBMAN FREEDOM FIGHTERS, CORP.,
                                     Plaintiff,
                                         v.
  LAUREL M. LEE, in her official capacity as Florida Secretary of State, et al.,
                                    Defendants.
                      Case No.:     4:21-cv-242-MW/MAF



Fees of the Clerk:


     Date                            Description                          Amount

  06/14/2021    Filing fee for initial complaint.                         $402.00

TOTAL                                                                     $402.00
   Case 4:21-cv-00242-MW-MAF                                     Document 268                     Filed 04/13/22                  Page 4 of 14


From:                  Nancy Abudu
To:                    Emma Bellamy; Michelle Kanter Cohen; Cecilia Aguilera; Katie Chan
Cc:                    Nadav Flax; Poy Winichakul; Safia Malin; Nour Vakhshoury
Subject:               FW: Activity in Case 4:21-cv-00242-MW-MAF Harriet Tubman Freedom Fighters, Corp. et al v. LEE et al Complaint
Date:                  Monday, June 14, 2021 1:19:21 PM
Attachments:           Harriet Tubman Freedom Fighters, Corp. v. Lee.pdf


Here’s the filing confirmation and attached file-stamped copy.

              Nancy Abudu
              Deputy Legal Director | Legal
              Southern Poverty Law Center
              T 786.376.5311
              nancy.abudu@splcenter.org | www.splcenter.org
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Center immediately by returning it to the sender and delete this copy from your system. Thank you for your cooperation.


From: flnd_flncmecf@flnd.uscourts.gov <flnd_flncmecf@flnd.uscourts.gov>
Sent: Monday, June 14, 2021 1:17 PM
To: flnd_clerk@flnd.uscourts.gov
Subject: Activity in Case 4:21-cv-00242-MW-MAF Harriet Tubman Freedom Fighters, Corp. et al v. LEE et al
Complaint

CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the
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This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this
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of record and parties in a case (including pro se litigants) to receive one free electronic copy of all
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apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                                                 U.S. District Court

                                                          Northern District of Florida

Notice of Electronic Filing

The following transaction was entered by ABUDU, NANCY on 6/14/2021 at 12:16 PM CDT and filed on 6/14/2021
Case Name:           Harriet Tubman Freedom Fighters, Corp. et al v. LEE et al
Case Number:         4:21-cv-00242-MW-MAF
Filer:               Harriet Tubman Freedom Fighters, Corp.
                     Head Count, Inc.
Document Number: 1
Judges(s) Assigned: MARK E WALKER (presiding), MARTIN A FITZPATRICK (referral)

Docket Text:
COMPLAINT for Injunctive and Declaratory Relief against All Defendants ( Filing fee $ 402
  Case 4:21-cv-00242-MW-MAF                 Document 268          Filed 04/13/22        Page 5 of 14


receipt number AFLNDC-6134068.), filed by Harriet Tubman Freedom Fighters, Corp., Head
Count, Inc.. (Attachments: # (1) Civil Cover Sheet) (ABUDU, NANCY)


4:21-cv-00242-MW-MAF Notice has been electronically mailed to:

NANCY GBANA ABUDU       nancy.abudu@splcenter.org

4:21-cv-00242-MW-MAF Notice will be mailed via USPS and will NOT be electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1047052653 [Date=6/14/2021] [FileNumber=7382499-0
] [7a2c0cb50fade9ecf85febcdaeb7b4fead652a6531ed6bb2b5d131ad5f88cada7b7
ecd69d042ef1a09b411a665eba59de0eb5ab79e9d87269ccbabfff23bb3e2]]
Document description:Civil Cover Sheet
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1047052653 [Date=6/14/2021] [FileNumber=7382499-1
] [1d3b65cba5d83ba88267fc0f87bef1fab1cf946ad8abd5e9a43721d9cccf76567ce
cff8b316a9f949ac8b7ef5e8147c3c2af046dbbb2c30fb7929ca891bcf2ee]]
  Case 4:21-cv-00242-MW-MAF        Document 268     Filed 04/13/22   Page 6 of 14




             HARRIET TUBMAN FREEDOM FIGHTERS, CORP.,
                                     Plaintiff,
                                          v.
  LAUREL M. LEE, in her official capacity as Florida Secretary of State, et al.,
                                   Defendants.
                       Case No.:    4:21-cv-242-MW/MAF


Fees for all or any part of the transcript necessarily obtained for use in the case:

    Date                            Description                            Amount
 10/14/2021 Deposition of Rosemary McCoy held on Oct. 8, 2021               $604.50
 10/28/2021 Deposition of Rosemary McCoy held on Oct. 22, 2021              $937.10
 10/26/2021 Deposition of Maria Matthews held on Oct. 20, 2021             $2,083.53
 10/27/2021 Deposition of Elizabeth Guzzo held on Oct. 22, 2021             $406.25
 11/8/2021    Deposition of Quentin Kidd, held of Oct. 28, 2021            $1.087.00
  2/8/2022    Trial Transcripts, Week 1                                    $3,841.30
 2/13/2022    Trial Transcripts, Week 2                                    $2,785.25
 2/16/2022    Trial Transcripts, Week 3                                    $1,010.30

 TOTAL                                                                    $12,755.23
Case 4:21-cv-00242-MW-MAF   Document 268   Filed 04/13/22   Page 7 of 14
Case 4:21-cv-00242-MW-MAF   Document 268   Filed 04/13/22   Page 8 of 14
               Case 4:21-cv-00242-MW-MAF                    Document 268              Filed 04/13/22          Page 9 of 14

                                                                                    INVOICE                                                  1 of 1
                                                                                   Invoice No.            Invoice Date             Job No.
                                                                                      200690               10/26/2021              212962
                                                                                    Job Date                            Case No.
                                                                                    10/20/2021                  421CV00186MWMAF
                                                                                                          Case Name
                                                                                League of Women Voters of Florida, Inc. vs. Laurel Lee

      Michelle Cohen
      Fair Elections Center                                                                           Payment Terms
      1825 K Street Northwest
      Suite 450                                                                                        Due upon receipt
      Washington, DC 20006


 DEPOSITION TRANSCRIPT OF:
      Maria Matthews, (Department of State, R.A.)                                           307.00 Pages        @          3.250        997.75
             3 Day Expedite                                                                                                            1,020.78
             E-Litigation Package                                                             1.00              @         35.000            35.00
             Paperless delivery: One tree will be planted in your                             1.00              @          0.000             0.00
             honor!
        Maria Matthews, (Department of State, R.A.) - Exhibits
             Exhibits: Hyperlinked to Transcript                                              1.00              @         15.000            15.00
             Exhibits: E-Processing                                                           1.00              @         15.000            15.00
                                                                                      TOTAL DUE >>>                                 $2,083.53


                                                                                      AFTER 12/10/2021 PAY                            $2,291.88
 Location of Job   : ALL PARTIES TO ATTEND REMOTELY VIA ZOOM
 Thank you for your business!

 TERMS: Payment is due upon receipt and is not contingent upon client reimbursement. Contact us immediately for billing corrections as no
 adjustments will be made after 30 days. Terms and Conditions that apply to all services and invoicing are located at
 https://www.phippsreporting.com/services-all-services-services-information/ and are incorporated in this invoice by reference.

 Pay your invoice here: https://www.phippsreporting.com/invoice-payment-form/



Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Michelle Cohen                                                              Invoice No.      : 200690
  Fair Elections Center                                                       Invoice Date     : 10/26/2021
  1825 K Street Northwest                                                     Total Due        : $2,083.53
  Suite 450
  Washington, DC 20006                                                        AFTER 12/10/2021 PAY $2,291.88




                                                                              Job No.          : 212962
Remit To: Phipps Reporting, Inc.                                              BU ID            : FL-PAN
          1551 Forum Place                                                    Case No.         : 421CV00186MWMAF
          Building 200, Suite E
                                                                              Case Name        : League of Women Voters of Florida, Inc. vs.
          West Palm Beach, FL 33401
                                                                                                 Laurel Lee
              Case 4:21-cv-00242-MW-MAF                     Document 268              Filed 04/13/22           Page 10 of 14

                                                                                    INVOICE                                                   1 of 1
                                                                                   Invoice No.             Invoice Date             Job No.
                                                                                       200954               10/27/2021              212964
                                                                                    Job Date                             Case No.
                                                                                    10/22/2021                   421CV00186MWMAF
                                                                                                           Case Name
                                                                                League of Women Voters of Florida, Inc. vs. Laurel Lee

      William Devaney
      Baker McKenzie                                                                                   Payment Terms
      452 Fifth Avenue
      New York, NY 10018                                                                                Due upon receipt




 DEPOSITION TRANSCRIPT OF:
      Elizabeth Guzzo                                                                       105.00 Pages         @          3.250        341.25
             E-Litigation Package                                                             1.00               @         35.000            35.00
             Paperless delivery: One tree will be planted in your                             1.00               @          0.000             0.00
             honor!
        Elizabeth Guzzo - Exhibit
             Exhibits: Hyperlinked to Transcript                                              1.00               @         15.000            15.00
             Exhibits: E-Processing                                                           1.00               @         15.000            15.00
                                                                                      TOTAL DUE >>>                                    $406.25


                                                                                      AFTER 12/11/2021 PAY                              $446.88
 Location of Job   : ALL PARTIES TO ATTEND REMOTELY VIA ZOOM
 Thank you for your business!

 TERMS: Payment is due upon receipt and is not contingent upon client reimbursement. Contact us immediately for billing corrections as no
 adjustments will be made after 30 days. Terms and Conditions that apply to all services and invoicing are located at
 https://www.phippsreporting.com/services-all-services-services-information/ and are incorporated in this invoice by reference.

 Pay your invoice here: https://www.phippsreporting.com/invoice-payment-form/




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  William Devaney                                                             Invoice No.       : 200954
  Baker McKenzie                                                              Invoice Date      : 10/27/2021
  452 Fifth Avenue                                                            Total Due         : $406.25
  New York, NY 10018
                                                                              AFTER 12/11/2021 PAY $446.88




                                                                              Job No.           : 212964
Remit To: Phipps Reporting, Inc.                                              BU ID             : FL-PAN
          1551 Forum Place                                                    Case No.          : 421CV00186MWMAF
          Building 200, Suite E
                                                                              Case Name         : League of Women Voters of Florida, Inc. vs.
          West Palm Beach, FL 33401
                                                                                                  Laurel Lee
              Case 4:21-cv-00242-MW-MAF                     Document 268              Filed 04/13/22          Page 11 of 14

                                                                                    INVOICE                                                  1 of 1
                                                                                   Invoice No.             Invoice Date            Job No.
                                                                                       202726               11/8/2021              214683
                                                                                    Job Date                            Case No.
                                                                                    10/28/2021                    421CV201MWMJF
                                                                                                           Case Name
                                                                                Florida Rising Together vs. Laurel Lee

      Michelle Cohen
      Fair Elections Center                                                                             Payment Terms
      1825 K Street Northwest
      Suite 450                                                                                         Due upon receipt
      Washington, DC 20006


 DEPOSITION TRANSCRIPT OF:
      Dr. Quentin Kidd                                                                      292.00 Pages         @         3.500       1,022.00
             E-Litigation Package                                                             1.00               @        35.000            35.00
             Paperless delivery: One tree will be planted in your                             1.00               @         0.000             0.00
             honor!
        Dr. Quentin Kidd - Exhibits
             Exhibits: E-Processing                                                           1.00               @        15.000            15.00
             Exhibits: Hyperlinked to Transcript                                              1.00               @        15.000            15.00
                                                                                      TOTAL DUE >>>                                 $1,087.00


                                                                                      AFTER 12/23/2021 PAY                            $1,195.70
 Location of Job   : ALL PARTIES TO ATTEND REMOTELY VIA ZOOM, FL
 Thank you for your business!

 TERMS: Payment is due upon receipt and is not contingent upon client reimbursement. Contact us immediately for billing corrections as no
 adjustments will be made after 30 days. Terms and Conditions that apply to all services and invoicing are located at
 https://www.phippsreporting.com/services-all-services-services-information/ and are incorporated in this invoice by reference.

 Pay your invoice here: https://www.phippsreporting.com/invoice-payment-form/




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Michelle Cohen                                                              Invoice No.       : 202726
  Fair Elections Center                                                       Invoice Date      : 11/8/2021
  1825 K Street Northwest                                                     Total Due         : $1,087.00
  Suite 450
  Washington, DC 20006                                                        AFTER 12/23/2021 PAY $1,195.70




                                                                              Job No.           : 214683
Remit To: Phipps Reporting, Inc.                                              BU ID             : FL-NORTH
          1551 Forum Place                                                    Case No.          : 421CV201MWMJF
          Building 200, Suite E
                                                                              Case Name         : Florida Rising Together vs. Laurel Lee
          West Palm Beach, FL 33401
Case 4:21-cv-00242-MW-MAF                                            Document 268                            Filed 04/13/22                        Page 12 of 14


   United States District Court                                                                                              Date: 02/08/2022
   Northern District/Florida                                                                                        Invoice Number: 20220724
                                                                                                             Re: WEEK 1 - ZOOM BENCH TRIAL

   To:                                                                                   Make Checks Payable To:
   Michelle Cohen                                                                        Megan A. Hague, RPR, FCRR
   Fair Elections Center                                                                 Official US Court Reporter
   1825 K Street NW, Suite 450                                                           EIN / Tax ID: XXX-XX-XXXX
   Washington, DC, 20006                                                                 111 North Adams Street
   Email: mkantercohen@fairelectionscenter.org                                           Tallahassee, Florida, 32301
                                                                                         Phone: (850) 422-0011
                                                                                         Email: megan.a.hague@gmail.com


   Case Details:
   Case Number: 4:21cv186, et al                                                         Proceeding Date: Jan 31, 2022
   Case Title: League of Women Voters of Florida, et al. vs.                             Courthouse: Tallahassee
   Laurel Lee, et al                                                                     Judge Hearing Case: Mark E. Walker
   Case Description: Upon agreement of the parties, the
   transcript (original and 6 copies) are split equally between
   League Plaintiffs, NAACP Plaintiffs, FRT Platiniffs, HTFF
   Plaintiffs, SOS Defendant, AG Defendant, and Intervenor
   Defendants. Parties will be billed separately for Realtime
   feeds, if any ordered.
   Criminal or Civil: Civil


   Transcripts:
   Date Ordered: Jan 31, 2022
   Date Delivered: Jan 31, 2022


   Charges:

     Page Type                                               Page Count                                    Rate                      Sub-Total


     Hourly Original                                         266                                           $7.25                     $1,928.50


     Hourly 1st Copy                                         1594                                          $1.20                     $1,912.80




   Total: $3,841.30



   Amount Due: $3,841.30


   Notes
   I certify that the transcript fees charged and page format used comply with the requirements of this court and the Judicial Conference of the United States.
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   /s/ Megan Hague
Case 4:21-cv-00242-MW-MAF                                            Document 268                            Filed 04/13/22                        Page 13 of 14


   United States District Court                                                                                              Date: 02/13/2022
   Northern District/Florida                                                                                        Invoice Number: 20220735
                                                                                                             Re: WEEK 2 - ZOOM BENCH TRIAL

   To:                                                                                   Make Checks Payable To:
   Michelle Kanter Cohen                                                                 Megan A. Hague, RPR, FCRR
   1825 K Street NW, Suite 450                                                           Official US Court Reporter
   Washington, DC, 20006                                                                 EIN / Tax ID: XXX-XX-XXXX
   Email: mkantercohen@fairelectionscenter.org                                           111 North Adams Street
                                                                                         Tallahassee, Florida, 32301
                                                                                         Phone: (850) 422-0011
                                                                                         Email: megan.a.hague@gmail.com


   Case Details:
   Case Number: 4:21cv186, et al                                                         Proceeding Date: Feb 07, 2022
   Case Title: League of Women Voters of Florida, et al. vs.                             Courthouse: Tallahassee
   Laurel Lee, et al                                                                     Judge Hearing Case: Mark E. Walker
   Case Description: Upon agreement of the parties, the
   transcript (original and 6 copies) are split equally between
   League Plaintiffs, NAACP Plaintiffs, FRT Platiniffs, HTFF
   Plaintiffs, SOS Defendant, AG Defendant, and Intervenor
   Defendants. Parties will be billed separately for Realtime
   feeds, if any ordered.
   Criminal or Civil: Civil


   Transcripts:
   Date Ordered: Feb 07, 2022
   Date Delivered: Feb 07, 2022


   Charges:

     Page Type                                               Page Count                                    Rate                      Sub-Total


     Hourly Original                                         193                                           $7.25                     $1,399.25


     Hourly 1st Copy                                         1155                                          $1.20                     $1,386.00




   Total: $2,785.25



   Amount Due: $2,785.25


   Notes
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   /s/ Megan Hague
Case 4:21-cv-00242-MW-MAF                                            Document 268                            Filed 04/13/22                        Page 14 of 14


   United States District Court                                                                                              Date: 02/16/2022
   Northern District/Florida                                                                                        Invoice Number: 20220743
                                                                                                             Re: WEEK 3 - ZOOM BENCH TRIAL

   To:                                                                                   Make Checks Payable To:
   Michelle Kanter Cohen                                                                 Megan A. Hague, RPR, FCRR
   1825 K Street NW, Suite 450                                                           Official US Court Reporter
   Washington, DC, 20006                                                                 EIN / Tax ID: XXX-XX-XXXX
   Email: mkantercohen@fairelectionscenter.org                                           111 North Adams Street
                                                                                         Tallahassee, Florida, 32301
                                                                                         Phone: (850) 422-0011
                                                                                         Email: megan.a.hague@gmail.com


   Case Details:
   Case Number: 4:21cv186, et al                                                         Proceeding Date: Feb 14, 2022
   Case Title: League of Women Voters of Florida, et al. vs.                             Courthouse: Tallahassee
   Laurel Lee, et al                                                                     Judge Hearing Case: Mark E. Walker
   Case Description: Upon agreement of the parties, the
   transcript (original and 6 copies) are split equally between
   League Plaintiffs, NAACP Plaintiffs, FRT Platiniffs, HTFF
   Plaintiffs, SOS Defendant, AG Defendant, and Intervenor
   Defendants. Parties will be billed separately for Realtime
   feeds, if any ordered.
   Criminal or Civil: Civil


   Transcripts:
   Date Ordered: Feb 14, 2022
   Date Delivered: Feb 14, 2022


   Charges:

     Page Type                                               Page Count                                    Rate                      Sub-Total


     Hourly Original                                         70                                            $7.25                     $507.50


     Hourly 1st Copy                                         419                                           $1.20                     $502.80




   Total: $1,010.30



   Amount Due: $1,010.30


   Notes
   I certify that the transcript fees charged and page format used comply with the requirements of this court and the Judicial Conference of the United States.
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   /s/ Megan Hague
